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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 American Foreign Service Association, et
 al.,

        Plaintiffs,

 v.

 President Donald J. Trump, et al.,
                                                Case No. 1:25-cv-00352

        Defendants.


                         NOTICE OF WITHDRAWAL OF MOTION
                        FOR TEMPORARY RESTRAINING ORDER

        Plaintiffs hereby notify the Court of their withdrawal of their motion for a temporary

restraining order, ECF No. 53. Plaintiffs make this withdrawal based on the representations in

Defendants’ Opposition and supporting declaration, as well as correspondence between Counsel,

that:

        •   USAID will not destroy “any additional documents after March 11, 2025, without first
            notifying Plaintiffs and providing an opportunity to raise the issue before this Court.”
            ECF No. 59 at 2; see also ECF No. 59-1 ¶ 13. Defendants’ counsel have confirmed to
            Plaintiffs that this obligation will apply throughout the pendency of this case.

        •   The documents destroyed on March 11, 2025, were limited to “(1) copies of classified
            documents that were originally classified by other government agencies, or (2)
            derivatively-classified documents that were created for the purposes of, but not limited
            to, high-level meetings, official government travel, and intelligence briefings, which
            USAID no longer has a need to retain.” ECF No. 59 at 7.

        •   If “originally classified USAID documents” and “current classified program files” “had
            not met their retention requirement in accordance with the disposition schedule
            approved by the National Archives and Records Administration (NARA),” those
            documents were retained and will be stored. ECF No. 59-1 ¶ 7.

        •   No personnel records were destroyed. ECF No. 59 at 7.



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         Plaintiffs reserve all rights to make a new or renewed motion for a temporary restraining

order or preliminary injunction based on future notice from Defendants or on the disclosure of new

facts.


 Dated: March 13, 2025                          Respectfully submitted,

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